  -.
Case 2:13-cr-00526-SJF-ARL          Document 61        Filed 04/24/14       Page 1 of 4 PageID #:
  Case 2:13-cr-00526-SJF-ARL Document290
                                      54 Filed 02/28/14
                                                                      Page 1 of 4 PageiD #: 270
                                                                                FILi.D
                                                                         IN CLERK'S OFFICE
  DMJ:CN                                                              US DISTRICT COURT E 0 N y
  F.#2013R00592


  UNITED STATES DISTRICT COURT
                                                                        *      t>.?R a4 ZOH       *
  EASTERN DISTRICT OF NEW YORK                                              LONG ISI.ANiJ OFFICE
  -----------------X
                                                    PRELIMINARY
  UNITED STATES OF AMERICA                          ORDER OF FORFEITURE

         -against-                                  13-CR-526 (SJF)

  ALEXANDER FONTANET,

                           Defendant.

 -----------------X
                  WHEREAS, on November 14, 2013, ALEXANDER FONTANET (the

  "Defendant"), entered a plea of guilty to offense in the of the above-captioned indictment
                                                     ./"

 charging violations of21 u.s.c. § 846; and

                  WHEREAS, the Defendant has consented to the forfeiture of the sum of

 fourteen thousand six hundred dollars and no cents ($14,600.00) in United States currency

 (the "Forfeited Funds"), seized on or about August 15,2013 from a residence located in

 Brooklyn, New York pursuant to 21 U.S.C. § 853(a), as property which constitutes or is

 derived from proceeds traceable to his violation of21 U.S.C. § 846, and/or as substitute

 assets, pursuant to 21 U.S.C. § 853(p).

                  IT IS HEREBY ORDERED, ADJUDGED AND DECREED, on consent, by

 and between the United States and the Defendant as follows:

                  I.    The Defendant shall forfeit to the United States the full amount of the

 Forfeited Funds, pursuant to 21 U.S.C. § 853(a) and 21 U.S.C. § 853(p).

                  2.    Upon entry of this Preliminary Order of Forfeiture, the United States

 United States v. ALEXANDER FONTANET, 13-CR-526 (SJF)
 Order of Forfeiture
 Page I
    Case
    ..... 2:13-cr-00526-SJF-ARL  Document 61 Filed 04/24/14 Page 2 of 4 PageID #:
'     Case 2:13-cr-00526-SJF-ARL Document291
                                          54 Filed 02/28/14 Page 2 of 4 PageiD #: 27l



      Attorney General, or his designee, is authorized to seize the Forfeited Funds and to conduct

      any proper discovery, in accordance with Fed. R. Crim. P. 32.2(b)(3) and (c), and to

      commence any applicable proceeding to comply with statutes governing third party rights,

      including giving notice of this Order.

                     3.     The United States Attorney's Office shall publish notice of this Order,

      in accordance with the custom and practice in this district, on the government website

      www.forfeiture.gov, of its intent to dispose of the Forfeited Funds in such a manner as the

      Attorney General or his designee may direct.          The United States may, to the extent

      practicable, provide direct written notice to any person known or alleged to have an interest

      in the Forfeited Funds as a substitute for published notice as to those persons so notified.

                    4.      The Defendant knowingly and voluntarily waives his

      right to any required notice concerning the forfeiture of the properties forfeited hereunder. In

      addition, the Defendant knowingly and voluntarily waives his right, if any, to a jury trial on

      the forfeiture of said monies and/or properties, and waives all constitutional, legal and

      equitable defenses to the forfeiture of said monies and/or properties, including, but not

      limited to, any defenses based on principles of double jeopardy, the Ex Post Facto clause of

      the Constitution, the statute of limitations, venue, or any defense under the Eighth

      Amendment, including a claim of excessive fines.

                    5.      Any person, other than the Defendant asserting a legal interest to the

      Forfeited Funds may, within thirty (30) days of the final publication of notice or receipt of

      notice, or no later than sixty (60) days after the first date of publication on an official

      government website, whichever is earlier, petition the court for a hearing without a jury to

      United States v. ALEXANDER FONTANET, 13-CR-526 (SJF)
      Order of Forfeiture
      Page 2
..
Case 2:13-cr-00526-SJF-ARL      Document 61 Filed 04/24/14 Page 3 of 4 PageID #:
     Case 2:13-cr-00526-SJF-ARL Document292
                                        54 Filed 02/28/14 Page 3 of 4 PageiD #: 2
                                                                                  72



     adjudicate the validity of his alleged interest in the property, and for an amendment of the

     order of forfeiture, pursuant to 21 U.S.C. § 853(n)(6). Any petition filed in response to

     notice of the forfeiture of the Forfeited Funds must be signed by the petitioner under penalty

     ofpeljury and shall set forth the nature and extent of the petitioner's right, title, or interest in

     the property, the time and circumstances of the petitioner's acquisition of the right, title, or

     interest in the property, any additional facts supporting the petitioner's claim, and the relief

     sought.

                   6.      The Defendant shall not file or interpose any claim or assist others to

     file or interpose any claim to the Forfeited Funds in any administrative or judicial

     proceeding. The Defendant shall take whatever steps are necessary to ensure that clear title

     to the Forfeited Funds passes to the United States, including the execution of any documents

     necessary to effectuate the forfeiture of the Forfeited Funds to the United States.            The

     forfeiture of the Forfeited Funds shall not be considered a payment of a fine, penalty,

     restitution loss amount, or a payment on any income taxes that may be due. This Order shall

     be binding upon the Defendant ant the successors, administrators, heirs, assigns and

     transferees of the Defendant, and shall survive the bankruptcy.

                   7.      The United States shall have clear title to the Forfeited Funds identified

     above following the Court's disposition of all third-party interests, or, if none, following the

     expiration of the period provided in 21 U.S.C. § 853(n)(2).

                   8.      Pursuant to the Fed. R. Crim. P. 32.2(b)(4)(A), this Order

     of Forfeiture shall become final as to the Defendant at the time of sentencing, and shall be

     made part of the sentence and included in the judgment. If no third party files a timely claim,

     United States v. ALEXANDER FONTANET, 13-CR-526 (SJF)
     Order of Forfeiture
     Page 3
.-
     Case 2:13-cr-00526-SJF-ARL   Document 61 Filed 04/24/14 Page 4 of 4 PageID #:
       Case 2:13-cr-00526-SJF-ARL Document293
                                           54 Filed 02/28/14 Page 4 of 4 PageiD #: 273



       this Order, if any, shall become the Final Order of Forfeiture, as provided by Fed. R. Crim. P.

       32.2(c)(2). At that time, the Forfeited Funds forfeited herein shall be forfeited to the United

       States for disposition in accordance with law.

                      9.     The terms contained herein shall be final and binding only upon the

       Court's "so ordering" of this Preliminary Order.

                      I 0.   The Court shall retain jurisdiction of this action to ensure compliance

       with the terms of this Order ofF orfeiture.

                     II.     The Clerk of the Court is directed to send, by inter-office mail, five (5)

       certified copies of this executed Order of Forfeiture to FSA Asset Forfeiture Paralegal

       Kristen Lake, United States Attorney's Office, Eastern District of New York, 610 Federal

       Plaza, Central Islip, New York 11722.


       Dated:   Central ~,p, New York
                March      2014
                                                        s/ Sandra J. Feuerstein
                                                          NORABLE SANfm.A·-l FEUERSTEIN
                                                                    /  '
                                                          TED STATESC)STRICT JUDGE




      United States v. ALEXANDER FONTANET, 13-CR-526 (SJF)
      Order ofF orfeiture
      Page4
